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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    AGSPRING, LLC, et al.,1                                    Case No. 23-10699 (CTG)

                                       Debtors.                Jointly Administered
                                                                               82
                                                               Ref. Docket No. __



                         ORDER EXTENDING DEADLINE WITHIN WHICH
                              DEBTORS MAY REMOVE ACTIONS
                                                  2
             Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(the “Debtors”) for entry of an order (this “Order”) (a) extending the Removal Deadline for filing

notices of removal of Actions by 90 days, up to and including November 28, 2023, without

prejudice to the Debtors’ right to seek further extensions; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and that this

Court may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor,



1  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
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    A capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion.



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        IT IS HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       The Removal Deadline is extended through and including November 28, 2023.

        3.       This Order shall be without prejudice to the Debtors’ right to request further

extensions of the Removal Deadline.

        4.       All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        5.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        6.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        7.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




    Dated: September 14th, 2023                         CRAIG T. GOLDBLATT
    Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE




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